                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION

                                             )
IN RE:                                       )
                                             )       Case No. 19-70152-JHH
SOUTHFRESH AQUACULTURE, LLC,                 )
                                             )       Chapter 11
         Debtor.                             )

                      NOTICE OF CRITICAL VENDOR PAYMENTS

         SouthFresh Aquaculture, LLC (the “Debtor”), as debtor and debtor-in-possession (the

“Debtor”), by and through undersigned counsel, files this Notice of Critical Vendor Payments (the

“Notice”). The list attached hereto as Exhibit “A” describes payments made to critical vendors

through February 26, 2019 (the “Critical Vendor Payment List”). The Critical Vendor Payment

List sets forth all parties who have been paid as critical vendors as of February 26, 2019, and the

amount of payment each party has received pursuant to (i) the Court’s Order (i) Authorizing the

Payment of Critical Vendor Claims, and (ii) Granting Related Relief (Doc. 29) and (ii) Order (i)

Authorizing the Payment of Critical Vendor Claims, and (ii) Granting Related Relief (Doc. 81)

(collectively, the “Critical Vendor Orders”). Pursuant to the Critical Vendor Orders, the Debtor is

authorized to pay critical vendors up to an aggregate amount of $1,470,000, of which

$1,217,525.17 has been paid to critical vendors as of February 26, 2019, leaving approximately

$250,000 available for additional critical vendor payments (the “CV Balance”). The Debtor is

continuing to negotiate with its creditors and exercising its business judgment in accordance with

the Critical Vendor Orders with respect to the disposition of the CV Balance. However, on

February 28, 2019, the Debtor provided the Bankruptcy Administrator with a list of holders of

outstanding pre-petition claims who may be paid as critical vendors from the CV Balance.




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         The Debtor is serving a copy of this Notice to all creditors and parties in interest listed in

the Creditor Matrix currently filed with the Court and will file a separate certificate of service with

the Court.

         Respectfully submitted this the 28th day of February, 2019.

                                                               /s/ Ryan D. Thompson
                                                               J. Leland Murphree
                                                               Jayna P. Lamar
                                                               Ryan D. Thompson
                                                               Evan N. Parrott
                                                               Wes Bulgarella

                                                               Proposed Counsel to the Debtor


OF COUNSEL:

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                                 Exhibit “A”

                         Critical Vendor Payment List




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                  Vendor                     Amount           Invoice Date
A LA CARTE SPECIALTY FOODS, LL                 12,000.00        1/2/2019
AB Vista Inc.                                  26,350.00        1/4/2019
ADM Milling Co.                                19,660.40        1/24/2019
Agiloc International, Inc.                        150.00        1/25/2019
Alabama Elevator & Accessibili                    815.00        1/17/2019
Alabama Farmers Cooperative                       228.00        1/25/2019
American Colloid Company                        4,062.30        1/23/2019
Ampro Products, Inc                             9,752.40        1/17/2019
APPLIED INDUSTRIES TECH.                           90.33        1/24/2019
Ardent Mills, LLC                                   4.44       12/23/2018
Atlas Welding                                     260.09       Pre-Petition
BAADER NORTH AMERICA                              237.22        1/4/2019
BAADER NORTH AMERICA                            2,356.75        1/2/2019
BAADER NORTH AMERICA                            4,472.00        1/10/2019
BAADER NORTH AMERICA                            7,247.89        1/10/2019
BAADER NORTH AMERICA                            3,410.86        1/11/2019
BAADER NORTH AMERICA                            1,403.80        1/18/2019
BAADER NORTH AMERICA                            1,675.60        1/18/2019
BAADER NORTH AMERICA                            1,354.02        1/18/2019
BAADER NORTH AMERICA                            1,828.00       Pre-Petition
BANKS & COMPANY                                   223.20        1/24/2019
BUNZL PROCESSOR DIVISION                        2,886.63        1/24/2019
CAIN STEEL AND SUPPLY                           1,552.61        1/24/2019
Chem-Aqua                                         787.22        1/25/2019
Christon Peaster                                  300.00        1/25/2019
Cintas                                            353.22        1/25/2019
COLONIAL BAG COMPANY                            2,719.16        1/24/2019
Commodity Specialists Company                  18,272.79        1/25/2019
Commodity Specialists Company                   4,233.44        1/24/2019
Commodity Specialists Company                   4,406.34        1/25/2019
Covia Lime, LLC                                 5,553.21        1/15/2019
Covington Heavy Duty Parts, In                     98.12       12/15/2018
Covington Heavy Duty Parts, In                     34.12        1/25/2019
CPC Commodities                                 5,464.98        1/22/2019
D'IBERVILLE COLD STORAGE                          801.00       Pre-Petition
DOUGLAS KOEHN-QUALITY SEINING,                  3,683.76        1/25/2019
DOUGLAS KOEHN-QUALITY SEINING,                     77.96        1/24/2019
DRS. KETCHAM & DISMUKES CLINIC                    195.00        1/24/2019
EAGLE TRANSPORTATION LLC                        5,160.00        1/24/2019
EAGLE TRANSPORTATION LLC                        5,090.00       Pre-Petition
EAGLE TRANSPORTATION LLC                        5,052.00        1/24/2019
Ed Johnson                                      2,106.19       Pre-Petition


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                   Vendor                    Amount           Invoice Date
ELYSIAN FISH FARM & CITIZEN BA                 31,716.86       1/23/2019
Elysian Fish Farms                              8,589.30       12/6/2018
EULER HERMES SERVICES NORTH AM                     55.00       1/17/2019
EXTRU-TECH, INC.                                  338.00       1/24/2019
Fairway Dairy & Ingredients                     8,099.20       1/21/2019
Farmers Grain Terminal, Inc.                    3,630.71       1/18/2019
FFE TRANSPORTATION SERVICES IN                    404.71       1/25/2019
FFE TRANSPORTATION SERVICES IN                  6,074.25       1/24/2019
FFE TRANSPORTATION SERVICES IN                    590.63       1/18/2019
FFE TRANSPORTATION SERVICES IN                    514.40       1/18/2019
FFE TRANSPORTATION SERVICES IN                    504.95       1/18/2019
FFE TRANSPORTATION SERVICES IN                    933.35       1/17/2019
FFE TRANSPORTATION SERVICES IN                    406.84       1/17/2019
FFE TRANSPORTATION SERVICES IN                  1,028.71       1/17/2019
FFE TRANSPORTATION SERVICES IN                    528.89       1/16/2019
FFE TRANSPORTATION SERVICES IN                    393.11       1/17/2019
FFE TRANSPORTATION SERVICES IN                    660.29       1/17/2019
FFE TRANSPORTATION SERVICES IN                    392.13       1/21/2019
FFE TRANSPORTATION SERVICES IN                    618.44       1/21/2019
FFE TRANSPORTATION SERVICES IN                    407.72       1/21/2019
FFE TRANSPORTATION SERVICES IN                  1,889.73       1/21/2019
FFE TRANSPORTATION SERVICES IN                    819.30       1/22/2019
FFE TRANSPORTATION SERVICES IN                    610.74       1/22/2019
FFE TRANSPORTATION SERVICES IN                    700.78       1/22/2019
FFE TRANSPORTATION SERVICES IN                    926.59       1/22/2019
FFE TRANSPORTATION SERVICES IN                    815.24       1/23/2019
FFE TRANSPORTATION SERVICES IN                    404.42       1/23/2019
FFE TRANSPORTATION SERVICES IN                    493.63       1/21/2019
FFE TRANSPORTATION SERVICES IN                    492.47       1/15/2019
FFE TRANSPORTATION SERVICES IN                    825.34       1/15/2019
FFE TRANSPORTATION SERVICES IN                    688.60       1/15/2019
FFE TRANSPORTATION SERVICES IN                    972.64       1/15/2019
FFE TRANSPORTATION SERVICES IN                    849.43       1/15/2019
FFE TRANSPORTATION SERVICES IN                    631.06       1/25/2019
FFE TRANSPORTATION SERVICES IN                    529.63       1/25/2019
FFE TRANSPORTATION SERVICES IN                    628.17       1/25/2019
FFE TRANSPORTATION SERVICES IN                    704.41       1/25/2019
FFE TRANSPORTATION SERVICES IN                    765.57       1/25/2019
FFE TRANSPORTATION SERVICES IN                    470.79       1/25/2019
FFE TRANSPORTATION SERVICES IN                    404.71       1/25/2019
FFE TRANSPORTATION SERVICES IN                    625.53       1/25/2019
FFE TRANSPORTATION SERVICES IN                    519.89       1/24/2019


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                  Vendor                     Amount           Invoice Date
FFE TRANSPORTATION SERVICES IN                    630.37        1/24/2019
FFE TRANSPORTATION SERVICES IN                    749.37        1/24/2019
FFE TRANSPORTATION SERVICES IN                    357.86        1/24/2019
FFE TRANSPORTATION SERVICES IN                    540.06        1/24/2019
FFE TRANSPORTATION SERVICES IN                    579.41        1/17/2019
Fred Robertson                                  3,150.00       Pre-Petition
Gary Broussard DBA Beaver Creek                   300.00        1/25/2019
Gavilon Ingredients, LLC                        4,273.71        1/15/2019
Gavilon Ingredients, LLC                       41,038.12        1/25/2019
Gavilon Ingredients, LLC                        4,789.67        1/17/2019
Gavilon Ingredients, LLC                        6,728.39        1/23/2019
Gavilon Ingredients, LLC                        4,126.10        1/25/2019
GEORGIA PACIFIC CORRUGATED LLC                  9,040.31        1/9/2019
GEORGIA PACIFIC CORRUGATED LLC                  8,993.36        1/15/2019
GEORGIA PACIFIC CORRUGATED LLC                 11,695.20        1/25/2019
GIVHAN LAND & CATTLE                           11,522.94        1/24/2019
GIVHAN LAND & CATTLE CO., INC                   9,267.90        1/23/2019
Golden Peanut Co. Oil Mill                      1,498.90        1/11/2019
Golden Peanut Co. Oil Mill                      1,450.80        1/14/2019
Golden Peanut Co. Oil Mill                      1,489.80        1/15/2019
Golden Peanut Co. Oil Mill                      1,463.15        1/16/2019
Golden Peanut Co. Oil Mill                      1,483.30        1/17/2019
Golden Peanut Co. Oil Mill                      1,210.95        1/18/2019
Golden Peanut Co. Oil Mill                      1,483.30        1/22/2019
Golden Peanut Co. Oil Mill                      1,623.05        1/23/2019
Golden Peanut Co. Oil Mill                      1,482.00        1/25/2019
Golden Peanut Co. Oil Mill                      2,490.61        1/3/2019
Golden Peanut Co. Oil Mill                      1,508.00        1/4/2019
Golden Peanut Co. Oil Mill                      1,420.25        1/7/2019
Golden Peanut Co. Oil Mill                      1,411.80        1/8/2019
GRAINGER, INC.                                    143.62        1/24/2019
GULF COAST MARINE SUPPLY CO.                      260.53        1/24/2019
Harmony Hill Trucking Co. Inc.                    600.00        1/21/2019
Harmony Hill Trucking Co. Inc.                  1,079.00        1/28/2019
HEARTLAND CATFISH                              13,500.00        1/24/2019
HEARTLAND CATFISH                              11,700.00        1/23/2019
HEARTLAND CATFISH                             (11,700.00)      Pre-Petition
Henry Welding, LLC                              2,725.00        1/27/2019
HENRY WELDING, LLC                              2,875.00        1/24/2019
Hicks Pallets                                   6,520.50        1/24/2019
HILO FISH COMPANY, INC.                        17,855.00        1/4/2019
Hydro/Power of MS                                  46.93        1/15/2019


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                   Vendor                    Amount           Invoice Date
INDUSTRIAL ELECTRIC MOTOR WORK                    690.00        1/24/2019
J & C Farms,LLC                                 1,600.00        1/11/2019
JENSEN TUNA, INC.                               2,925.00        1/22/2019
KEN DILLER                                     38,634.46        1/17/2019
KEN DILLER                                     62,871.45        1/23/2019
KEN DILLER                                      8,411.70        1/24/2019
KEN DILLER                                     (4,020.09)       1/15/2019
KIWI CODERS CORP                                  624.37        1/17/2019
KYLE D. SCHMIDT                                37,899.72        1/23/2019
KYLE D. SCHMIDT                                44,744.21        1/24/2019
KYLE D. SCHMIDT                                37,632.00        1/25/2019
LAND O'LAKES PURINA FEED LLC                    3,403.15        1/24/2019
Land O'Lakes Purina Feed LLC                    3,510.45        1/23/2019
Lansing Trade Group, LLC                       17,466.74        1/25/2019
Lansing Trade Group, LLC                        8,421.28        1/15/2019
Lansing Trade Group, LLC                        8,437.21        1/15/2019
Lansing Trade Group, LLC                        3,497.40        1/24/2019
Lansing Trade Group, LLC                        3,354.03        1/24/2019
Lansing Trade Group, LLC                        3,362.72        1/25/2019
Lansing Trade Group, LLC                        3,578.50        9/15/2018
LANSING VERMONT, INC.                           9,163.98        1/24/2019
Lansing Vermont, Inc.                           1,957.50        1/18/2019
LEDWELL                                           651.79        1/24/2019
LITTLE ROCK FARM, INC.                         13,918.35        1/14/2019
Livestock Nutrition Center, LL                  2,567.04        1/17/2019
Livestock Nutrition Center, LL                  2,573.76        1/16/2019
Livestock Nutrition Center, LLC                 2,542.40        1/2/2019
LNC Kansas                                      4,434.60        1/24/2019
Loren Diller                                   14,587.71        1/24/2019
Loren Diller                                    4,691.46        1/28/2019
M&M Seining, LLC                                1,069.01        1/25/2019
Marvin D Gregory - Gregory & Sons                 223.78        1/25/2019
Marvin's Credit Services                          181.06        1/24/2019
MOTION INDUSTRIES, INC.                         2,491.97        1/24/2019
NETWORK TRADING, INC.                           2,711.87        1/24/2019
Newell Paper                                      871.33       Pre-Petition
Newell Paper                                       19.09       Pre-Petition
NEWELL PAPER CO.                                  328.05        1/24/2019
NOLIN MILLING                                   1,907.81        1/24/2019
Nolin Milling                                      34.10       12/27/2018
Northport Electrical Supply                       264.46        1/25/2019
Nutra Blend Corporation                         8,940.60        1/22/2019


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Nutra Blend Corporation                        10,329.08        1/22/2019
NUTRA BLEND CORPORATION                        42,472.00        1/17/2019
Nutra Blend Corporation                         5,326.80        1/15/2019
OCEAN FOODS CO.                                   673.41        1/17/2019
PACKERS SANITATION SERVICES, LTD               10,856.00        1/21/2019
Prairie Cajun                                  25,272.00       Pre-Petition
Preferred Freezer Chicago III                      73.83        1/15/2019
Preferred Freezer Chicago III                     474.31        1/23/2019
Preferred Freezer Chicago III                     183.25       Pre-Petition
Preferred Freezer Chicago III                      26.25       Pre-Petition
PREFERRED FREEZER SERVICES OF                      67.50        1/15/2019
PREFERRED FREEZER SERVICES OF                      48.00       Pre-Petition
PREMIER SPRINGWATER DISTRIBUTO                     74.25        1/24/2019
PYRAMID TRANSPORT INC                           3,105.00        1/24/2019
RANGER ENVIRONMENTAL SERVICES                   1,469.25        1/24/2019
REDDY ICE CORPORATION                           2,404.20        1/24/2019
River City Diesel Services                      2,711.86       12/26/2018
River City Diesel Services                      2,711.86        1/2/2019
River City Diesel Services                      4,080.06        1/25/2019
River City Trucking                               652.00        1/24/2019
River City Trucking                             1,283.00        1/17/2019
River City Trucking                             1,287.00        1/24/2019
ROBERT P. HALL                                 11,460.42        1/25/2019
ROBERTS HAULING, INC.                           5,372.00        1/24/2019
Roger L. Krebs                                    165.00        1/25/2019
Ronald Nichols                                  8,800.32        1/24/2019
RUNNING CREEK FARMS, LLC & FNB                 37,809.42        1/24/2019
RUNNING CREEK FARMS, LLC & FNB                 36,590.92        1/23/2019
SAVANNAH FOOD COMPANY, INC.                     3,189.00        1/22/2019
SEA DELIGHT, LLC                               18,562.60        1/11/2019
SEAQUEST SEAFOOD CORPORATION                   61,065.00        1/24/2019
Skye Diller                                     4,856.90        1/24/2019
SOUTHEAST COLD STORAGE                          2,341.00        1/24/2019
SOUTHEAST COLD STORAGE                            264.00        1/18/2019
SOUTHEAST COLD STORAGE                            109.50        1/25/2019
SOUTHEAST COLD STORAGE                          1,655.50        1/25/2019
SOUTHEAST COLD STORAGE                            480.00        1/25/2019
Southeastern Mineral                            3,784.00        1/23/2019
SOUTHERN COLD STORAGE CO.                         115.20        1/26/2019
Southern Controls                                 836.13        1/24/2019
Southern Label                                 10,652.76        1/25/2019
Strickland Paper Company, Inc.                  5,334.70        1/25/2019


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SYSCO DETROIT                                      555.00       1/2/2019
SYSCO FOOD SERVICES OF COLUMBI                   2,078.00       1/1/2019
SYSCO FOOD SERVICES OF COLUMBI                  (2,078.00)      1/24/2019
SYSCO HOUSTON                                       86.71      12/31/2018
SYSCO HOUSTON                                    2,307.20      12/31/2018
SYSCO HOUSTON                                     (240.00)     12/31/2018
SYSCO HOUSTON                                       79.04       1/24/2019
SYSCO SOUTHEAST FLORIDA LLC                        176.50       1/1/2019
Thompson Food                                      298.62       1/17/2019
TRISTRATA GROUP                                  1,419.00       1/24/2019
TUSCALOOSA OFFICE PRODUCTS                         114.86       1/24/2019
United Parcel Service                               71.85       1/25/2019
Valley Printing Company, Inc.                      979.52       1/22/2019
Westway Feed Products                            5,114.62       1/8/2019
Westway Feed Products                            5,078.09       1/17/2019
Westway Feed Products                            5,084.83       1/14/2019
Westway Feed Products                            5,047.56       1/23/2019
WINSEA INTERNATIONAL USA, INC                   67,680.00       1/24/2019
                   Total                 $   1,217,525.17




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